
36 So.3d 857 (2010)
Bryant WILLIAMS, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D08-2274.
District Court of Appeal of Florida, Third District.
June 2, 2010.
Rehearing Denied June 25, 2010.
Bryant Williams, in proper person.
Bill McCollum, Attorney General, and Douglas J. Glaid, Senior Assistant Attorney General, for appellee.
Before GERSTEN and SALTER, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Affirmed. See Harris v. State, 30 So.3d 674 (Fla. 3d DCA 2010).
